
OPINION OF THE COURT
PHILIP BLOOM, Circuit Judge.

ORDER DENYING MOTION FOR TEMPORARY CHILD SUPPORT

THIS CAUSE came on to be heard on October 22, 1990 on Petitioner’s Emergency Motion for Temporary Child Support and upon the Court considering argument of counsel and being otherwise fully advised in the premises, it is
ORDERED and ADJUDGED that:
1. Said Motion for Temporary Child Support be and the same is hereby denied without prejudice. Chapter 742 does not authorize child support, temporary or otherwise, until after a paternity adjudication has been made. Mason v Reiter, 531 So.2d 348 (Fla. 3d DCA 1988). *166The first issue to be determined in his cause is whether the named defendant is the father of the child. State Department of Health v Wright, 489 So.2d 1148 (Fla. 2d DCA 1986). As a result, this court has no power, as a matter of law, to order support before a paternity adjudication.
DONE and ORDERED in Miami, Dade County, Florida on this 13th day of November, 1990.
